Case 2:17-cv-07496-MWF-AS Document 33 Filed 12/15/17 Page 1 of 2 Page ID #:368




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 9                          UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
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12   Universal City Studios Productions        )   Case No. 2:17-cv-07496-MWF(AS)
     LLLP; Columbia Pictures Industries, Inc.; )
13                                             )
     Disney Enterprises, Inc.; Twentieth       )   ORDER RE STIPULATION RE:
14   Century Fox Film Corporation;             )   BRIEFING SCHEDULE AND
15
     Paramount Pictures Corporation; Warner ))     HEARING ON PLAINTIFFS’
     Bros. Entertainment Inc.; Amazon          )   MOTION FOR PRELIMINARY
16   Content Services, LLC; Netflix Studios, )     INJUNCTION
     LLC,                                      )
17                                             )
                                               )
18                             Plaintiffs,     )
                                               )
19                                             )
           vs.                                 )
20                                             )
     Tickbox TV, LLC,                          )
21                                             )
                                               )
22                             Defendant.      )
23    _________________________________ )

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     37322897.1                             ORDER
Case 2:17-cv-07496-MWF-AS Document 33 Filed 12/15/17 Page 2 of 2 Page ID #:369




 1            The Court, having reviewed the Stipulation re: Briefing Schedule & Hearing on
 2   Plaintiffs Motion for Preliminary Injunction (Dkt. No. 28), and finding good cause
 3   therefor,
 4            IT IS HEREBY ORDERED as follows:
 5            1. Defendant’s Opposition (and all supporting papers) shall be filed and served
 6                on or before December 28, 2017;
 7            2. Plaintiffs’ Reply (and all supporting papers) shall filed and served on or
 8                before January 12, 2018; and
 9            3. The hearing date on the Motion shall be re-noticed for January 29, 2018, at
10                10:00 a.m.
11

12            IT IS SO ORDERED.
13

14   DATED: December 15, 2017                 ____________________________________
15                                            HON. MICHAEL W. FITZGERALD
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                                              U.S. District Court Judge

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     37322897.1                                  ORDER
